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                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,                             Case No. CR 15 00063
               Plaintiff,
       v.                                             AFFIDAVIT OF TAMI LOEHRS
TODD CHRISTIAN HARTMAN,
               Defendant.




I, TAMI L. LOEHRS, hereby declare as follows:


       1.      I am a computer forensics expert and owner of Loehrs& Associates, LLC

(formerly Law2000, Inc.) a firm specializing in computer forensics. My offices are located at

3037 West Ina, Suite 121, Tucson, Arizona 85741. I am competent to testify and the matters

contained herein are based on my own personal knowledge.


       2.      I have been working with computer technology for over 20 years and I hold a

Bachelor of Science in Information Systems. I have completed hundreds of hours of forensics

training including courses with Guidance Software and Access Data. I am an EnCase Certified

Examiner (EnCE), an Access Data Certified Examiner (ACE), a Certified Computer Forensic

Examiner (CCFE) and a Certified Hacking Forensic Investigator (CHFI). I have conducted

hundreds of forensics exams on thousands of pieces of evidence including hard drives, cell

phones, removable storage media and other electronic devices. I have conducted seminars on

Computer Forensics and Electronic Discovery throughout the United States. In addition, I hold

a Private Investigator Agency License in the State of Arizona which requires a minimum of


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6,000 hours investigative experience. My Curriculum Vitae is attached hereto and updated

versions may be downloaded from the Loehrs & Associates website at www.ForensicsExpert.net.


       3.      I have been the computer forensics expert for the defense on over 250 child

pornography cases throughout the United States, Puerto Rico, Marianna Islands, Canada and

England since the year 2000 and have testified over ninety times in State, Federal and

international Courts.


       4.      I have been retained as a computer forensics expert by Cuauhtémoc Ortega,

Deputy Federal Public Defender and counsel for Defendant Todd Christian Hartman, for the

purpose of assisting with matters related to the searching, collecting, analyzing and producing of

electronic evidence in this matter.


       5.      I have reviewed discovery materials produced by the government including, but

not limited to, Newport Beach Police Department Reports (Bates 007-0010), Search Warrant

and Affidavit prepared by Detective David Syvock (Bates 0045-0066), Department of Homeland

Security Report of Investigation (Bates 0023-0032), the Indictment and Superseding

Indictment, and Defense Motion to Compel dated September 18, 2015.


       6.      According to the Affidavit prepared by Detective Syvock, this case originated

from an undercover investigation of the peer-to-peer network known as eDonkey2000. On

October 16, 2014, Det. Syvock identified files of suspect child pornography as “available for

sharing” from a computer with a specific GUID at the IP address 76.172.3.11. He does not

indicate what software or tools he used to identify the files of child pornography. Det. Syvock

indicates he downloaded five (5) files on October 16th and provides information about those files

on pages 13 through 15. Although two of the files provided indicate they were downloaded on



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10/16/2014, the other three files have dates nearly one month later on 11/06/2014 and

11/11/2014. Det. Syvock does not indicate what software or tools he used to download those files.


       7.      On November 23, 2014, Det. Syvock identified files of suspect child pornography

as “available for sharing” on a computer with the same GUID but with a different IP address of

76.171.211.243. Again, he indicates he downloaded one (1) file and includes that information on

page 16. However, the file is dated over one month later on 12/29/2014. Again, he makes no

mention of the software or tools used to conduct his investigation.


       8.      Although Det. Syvock does not specifically identify the software or tools he used

during his undercover investigation, he makes general references in his affidavit to the Child

Protection System (CPS) and Peer Spectre.


       9.       I know from experience on numerous P2P cases and from personally listening to

the testimony of law enforcement personnel, including William Wiltse, that CPS was created at

Wiltse’s direction. Wiltse is or was the Director of Software Programming at TLO, a data fusion

company in Boca Raton that, among other things, develops software to assist law enforcement

who are investigating child exploitation crimes. CPS is a proprietary suite of software tools

created by and used exclusively by law enforcement that includes Peer Spectre 2 and its

predecessor Peer Spectre. CPS has been used by law enforcement in numerous cases

throughout the country in which I have been involved as a defense expert including the matters

of United States vs. Angel Ocasio, EP-11-CR-2728(KC) and United States vs. John A. Crowe,

11CR 1690. These cases, as well as others, have brought to light serious concerns with regard to

the CPS software and whether that software is going beyond the scope of “publicly available”

information. To my knowledge, as of the writing of this Affidavit, this software has never been



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formally tested and/or validated by anyone and is unavailable for testing by any third-parties.

Although the courts in Crowe and Ocasio agreed to third-party testing of the software, both

cases were settled and the software was never made available to me.


       12.     It is critical to Mr. Hartman’s defense to understand how this software functions

in order to determine its reliability and accuracy in identifying files reported as “publicly

available” from Mr. Hartman’s computer.


       13.     On September 30, 2015, an independent forensics examination was conducted on

the evidence seized from Mr. Hartman’s residence, specifically a Hewlett Packard Pavilion

desktop computer (HP Pavilion). During that examination, a search for the six files downloaded

during the undercover investigation revealed all six files were located on Hartman’s computer in

a folder with over 4,000 files associated with the eMule software application.


       14.     eMule is a P2P file sharing software application that shares information through

the eDonkey network. eMule was installed on the HP Pavilion in March of 2014 but uninstalled

before the execution of the search warrant. A review of the eMule system files revealed only 600

files were “publicly available” for sharing even though over 4,000 files existed in the eMule

default folders. Four (4) of the files identified during the undercover investigation were not

included in this list of “publicly available” files. The remaining two (2) files identified during

the undercover investigation were found to be “publicly available” but had not been shared since

May, 2014, nearly three months prior to the undercover investigation. This begs the question of

how the CPS software identified the files in the first place if they are not listed as “publicly

available” from Hartman’s computer.




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       15.     Additionally, the software PeerBlock was installed on the HP Pavilion in

December of 2013. Peer Block functions as a firewall that blocks IP addresses manually

entered into the software or IP addresses that have been included in “blacklists” available

online. A review of the system files for this application revealed the user enabled to block IP

addresses associated with peer to peer file sharing.

       16.     Thus, the implication in this case is that the CPS software may be identifying files

of suspect child pornography on Hartman’s computer that are not “publicly available” and were

not intended to be shared.


       17.     For all of the reasons stated above, and under general scientific principles, it is

my opinion that there is insufficient forensic evidence to corroborate that files of suspect child

pornography identified during the undercover investigation were “publicly available”. In

addition, it remains my opinion that law enforcement’s proprietary CPS software needs to be

tested by a qualified third-party to determine its functionality and accuracy.


       18.     I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge.


       Dated: October 8, 2015



                                              ____________________________
                                              Tami L. Loehrs




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